Case 2:21-cv-05093-MWF-RAO Document 13 Filed 12/01/21 Page 1 of 2 Page ID #:40

                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES – GENERAL

 Case No.        CV 21-5093 MWF (RAOx)                                    Date: December 01, 2021
 Title       Theodore Parisienne v. Extra Medium, Inc.


 Present: The Honorable:      MICHAEL W. FITZGERALD, United States District Judge
                    Rita Sanchez                                        Not Reported
                    Deputy Clerk                                  Court Reporter / Recorder

         Attorneys Present for Plaintiffs:                 Attorneys Present for Defendants:
                  Not Present                                        Not Present

 Proceedings: (IN CHAMBERS) ORDER TO SHOW CAUSE

        A review of the docket in this action reflects that the Complaint was filed on
 June 23, 2021. (Docket No. 1). Pursuant to the Court’s Order permitting Plaintiff
 to serve Defendant Extra Medium, Inc. by service on the California Secretary of
 State, Plaintiff filed a Proof of Service (“POS”) on October 26, 2021. (Docket No.
 12).

       The Court ORDERS Plaintiff to show cause why this action should not be
 dismissed for lack of prosecution. In response to this Order to Show Cause, the
 Court will accept the following no later than DECEMBER 17, 2021.

          BY DEFENDANT: RESPONSE TO THE COMPLAINT (“Response”)
           by Defendant. The parties may also file an appropriate stipulation to
           extend the time within which Defendant must respond to the Complaint.

                  OR

          BY PLAINTIFF: APPLICATION FOR CLERK TO ENTER DEFAULT
           as to Defendant who has not timely responded to the Complaint.

       This is the second Order to Show Cause issued by the Court; it will not issue
 another.

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 CV-90 (03/15)                          Civil Minutes – General                               Page 1 of 2
Case 2:21-cv-05093-MWF-RAO Document 13 Filed 12/01/21 Page 2 of 2 Page ID #:41

                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES – GENERAL

 Case No.        CV 21-5093 MWF (RAOx)                        Date: December 01, 2021
 Title       Theodore Parisienne v. Extra Medium, Inc.

       No oral argument on this matter will be heard unless otherwise ordered by
 the Court. See Fed. R. Civ. P. 78; Local Rule 7-15. The Order will stand
 submitted upon the filing of the response to the Order to Show Cause. Failure to
 respond to the Order to Show Cause by December 17, 2021 will result in the
 dismissal of this action.

         IT IS SO ORDERED.

                                                              Initials of Preparer: RS/sjm




 CV-90 (03/15)                      Civil Minutes – General                     Page 2 of 2
